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                              UNITED STATES JUDICIAL PANEL                                            N
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                                                                              CLERK, U.S
                               MULTIDISTRICT LITIGATION


IN RE: CINCINNATI INSURANCE COMPANY
COVID-19 BUSINESS INTERRUPTION PROTECTION
INSURANCE LITIGATION                                                                    MDL No. 2962


                                 ORDER DENYING TRANSFER


        Before the Panel: At its July 2020 hearing session, the Panel considered two motions
seeking centralization of an industry-wide litigation involving claims for insurance coverage of
business interruption losses caused by the COVID-19 pandemic and the related government orders
suspending, or severely curtailing, operations of non-essential businesses. We denied the motions,
concluding that the differences among the many insurers would overwhelm any common factual
questions and hinder the transferee court’s ability to efficiently manage the litigation. See In re
COVID-19 Bus. Interruption Prot. Ins. Litig., MDL No. 2942, 2020 WL 4670700, __ F. Supp. 3d
__ (J.P.M.L. Aug. 12, 2020). In the briefing on those motions, several parties proposed that insurer-
specific MDLs be created. We concluded that we needed “a better understanding of the factual
commonalities and differences among these actions, as well as the efficiencies that may or may not
be gained through centralization, before creating an insurer-specific MDL.” Id. at *3. Therefore,
we ordered the Panel Clerk to issue orders directing the parties to certain actions involving a
common insurer or group of insurers to show cause why those actions should not be centralized.

        One of those orders encompassed the seventeen actions listed on Schedule A,1 which involve
claims against Cincinnati Insurance Company and related insurers (collectively, Cincinnati). Since
we issued this show cause order, the parties have notified us of 49 related actions. Plaintiffs in 27
of these 66 actions support the creation of a Cincinnati MDL. They variously suggest a number of
potential transferee districts, including: the Northern District of Illinois; the District of Kansas; the
Western District of Missouri; the District of New Jersey; the Southern District of New York; the
Southern District of Ohio; the Eastern District of Pennsylvania; and the Western District of
Pennsylvania. Plaintiffs in five actions oppose centralization, as does Cincinnati and several non-
insurer co-defendants in a related action pending in the Eastern District of Missouri. In the
alternative, Cincinnati suggests that the Northern District of Alabama or the Southern District of
Ohio serve as the transferee court for this litigation. Additionally, we received two briefs by amici
curiae, one in support of and one in opposition to centralization.




        1
        An eighteenth action on the show cause order, filed in the Northern District of Illinois,
subsequently was dismissed.
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        After considering the arguments of counsel,2 we conclude that centralization of the
Cincinnati actions will not serve the convenience of the parties and witnesses or further the just and
efficient conduct of this litigation. Centralization of these actions presents a close question. The
insurance policies at issue in the Cincinnati actions appear to use standard forms drafted by the
Insurance Services Office (ISO) and will involve the interpretation of common language, such as
“direct loss to property.” To the extent discovery is necessary of Cincinnati regarding the drafting
and interpretation of its policies, such discovery will be common to all actions. Thus, these actions
present common legal and factual questions that could, in other circumstances, support
centralization.3

         Common factual questions, however, are not the sole prerequisite for centralization under
Section 1407. Centralization also must promote the just and efficient conduct of the actions. This
litigation demands efficiency. As counsel repeatedly emphasized in their papers and during oral
argument, time is of the essence in this litigation. Many plaintiffs are on the brink of bankruptcy
as a result of business lost due to the COVID-19 pandemic and the government closure orders. The
most pressing question for us, therefore, is whether centralization presents the most efficient means
of advancing these actions towards resolution.

        Efficiency here is best obtained outside the MDL context. If these actions were centralized,
the transferee court would have to establish a pretrial structure to manage numerous plaintiffs, many
of which are pursuing distinct theories of liability.4 The court also would have to identify common
policies with identical or sufficiently similar policy language and interpret those policies under
applicable state laws. The Cincinnati actions are pending in 29 different districts in nineteen states.

        2
         In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel heard
oral argument by videoconference at its hearing session of September 24, 2020. See Suppl. Notice
of Hearing Session, MDL No. 2962 (J.P.M.L. Sept. 8, 2020), ECF No. 124.
        3
           Cincinnati argues that centralization is inappropriate for the handling of purely legal
questions, such as policy interpretation questions. It is true that common legal questions, standing
alone, are not sufficient to satisfy Section 1407’s requirement that there be common factual
questions. See In re ABA Law School Accreditation Litig., 325 F. Supp. 3d 1377, 1378–79 (J.P.M.L.
2018). Centralization may be appropriate even where legal questions are prominent, however, so
long as common factual issues are present. See In re Polar Bear Endangered Species Act Listing
& 4(d) Rule Litig., 588 F. Supp. 2d 1376, 1377(J.P.M.L. 2008) (“The Panel must determine the
extent of the common factual issues and the likelihood that centralized pretrial proceedings will
create important efficiencies, avoid inconsistent rulings, and result in the overall fairer adjudication
of the litigation for the benefit of all involved parties.”).
        4
         For instance, some plaintiffs argue that the COVID-19 virus is present on and caused
damage to their properties. Others allege that they suffered damage as a result of state and local
governments’ orders restricting or closing businesses. Some plaintiffs principally seek damages for
breach of contract; others assert claims for bad faith denial of insurance. These distinct claims likely
will require different legal analysis and different discovery.
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It will take a not insignificant amount of time to organize this litigation and resolve the central
policy interpretation questions. In the meantime, dispositive motions addressing the core policy
interpretation questions are pending in 39 of the 66 actions, at least twelve of which are fully
briefed. Rather than have one judge attempt to organize and resolve the core policy interpretation
issues, it strikes us that allowing the various transferor courts to decide these questions will result
in quicker and more efficient resolution of this litigation.

        Furthermore, should plaintiffs’ claims survive dispositive rulings on the policy interpretation
questions,5 discovery appears relatively straightforward. While some of this discovery may well be
common (particularly that directed to Cincinnati regarding the drafting and interpretation of its
policy language), much of the discovery will be plaintiff- and property-specific. In these
circumstances, it is more likely the actions will reach an expeditious resolution if they remain in the
transferor courts. We impress upon the courts overseeing these actions the importance of advancing
these actions towards resolution as quickly as possible.

        Accordingly, centralization of the actions listed on Schedule A is not warranted. To the
extent necessary, alternatives to centralization are available to minimize any duplication in pretrial
proceedings, including informal cooperation and coordination among the parties and courts. We
also note that some similar actions are pending in the same district before multiple judges, and it
may be appropriate for the courts or the parties to seek to relate those before one judge.




       5
         We take no position on the merits of these dispositive motions. See In re Kauffman Mut.
Fund Actions, 337 F. Supp. 1337, 1339–40 (J.P.M.L. 1972) (“The framers of Section 1407 did not
contemplate that the Panel would decide the merits of the actions before it and neither the statute
nor the implementing Rules of the Panel are drafted to allow for such determinations.”). To date,
one court has denied two motions to dismiss with respect to Cincinnati, see Studio 417, Inc. v.
Cincinnati Ins. Co., C.A. No. 6:20-03127, 2020 WL 4692385 (W.D. Mo. Aug. 12, 2020), while
another has granted dismissal, see Sandy Point Dental, PC v. Cincinnati Ins. Co., C.A. No. 1:20-
02160, 2020 WL 5630465 (N.D. Ill. Aug. 21, 2020).
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      IT IS THEREFORE ORDERED that the order to show cause regarding the actions listed on
Schedule A is vacated.


                                  PANEL ON MULTIDISTRICT LITIGATION




                                  __________________________________________
                                                Karen K. Caldwell
                                                     Chair

                                  Ellen Segal Huvelle         R. David Proctor
                                  Catherine D. Perry          Nathaniel M. Gorton
                                  Matthew F. Kennelly         David C. Norton
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IN RE: CINCINNATI INSURANCE COMPANY
COVID-19 BUSINESS INTERRUPTION PROTECTION
INSURANCE LITIGATION                                               MDL No. 2962


                                      SCHEDULE A

                 Middle District of Alabama

     EAGLE EYE OUTFITTERS, INC. v. THE CINCINNATI CASUALTY COMPANY,
          C.A. No. 1:20–00335
     PEAR TREE GROUP, LLC v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 3:20–00382
     SNEAK & DAWDLE, LLC v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 3:20–00383
     AUBURN DEPOT LLC v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 3:20–00384

                 Northern District of Alabama

     HOMESTATE SEAFOOD LLC v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 2:20–00649
     SOUTHERN DENTAL BIRMINGHAM LLC v. THE CINCINNATI INSURANCE
          COMPANY, C.A. No. 2:20–00681

                 Northern District of Illinois

     3 SQUARES, LLC, ET AL. v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 1:20–02690
     DEREK SCOTT WILLIAMS PLLC, ET AL. v. THE CINCINNATI INSURANCE
          COMPANY, C.A. No. 1:20–02806

                 District of Kansas

     PROMOTIONAL HEADWEAR INT’L v. THE CINCINNATI INSURANCE
         COMPANY, INC., C.A. No. 2:20–02211

                 Western District of Missouri

     STUDIO 417, INC. v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 6:20–03127
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              Southern District of Ohio

  TROY STACY ENTERPRISES INC. v. THE CINCINNATI INSURANCE COMPANY,
       C.A. No. 1:20–00312
  TASTE OF BELGIUM LLC v. THE CINCINNATI INSURANCE COMPANY, ET AL.,
       C.A. No. 1:20–00357
  SWEARINGEN SMILES LLC, ET AL. v. THE CINCINNATI INSURANCE
       COMPANY, ET AL., C.A. No. 1:20–00517

              Eastern District of Pennsylvania

  MILKBOY CENTER CITY LLC v. THE CINCINNATI INSURANCE COMPANY,
       ET AL., C.A. No. 2:20–02036
  STONE SOUP, INC. v. THE CINCINNATI INSURANCE COMPANY,
       C.A. No. 2:20–02614

              Western District of Pennsylvania

  HIRSCHFIELD-LOUIK v. THE CINCINNATI INSURANCE COMPANY, ET AL.,
       C.A. No. 2:20–00816

              Southern District of West Virginia

  UNCORK AND CREATE LLC v. THE CINCINNATI INSURANCE COMPANY,
      ET AL., C.A. No. 2:20–00401
